          Case 1:24-cv-02143-UNA Document 7 Filed 07/29/24 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 JANE DOE,

        Plaintiff,
                v.                                     Civil Action No. 24-2143 (JEB)
 LLOYD J. AUSTIN, III, et al.,

        Defendants.


                         MEMORANDUM OPINION AND ORDER

       Plaintiff Jane Doe, a veteran of the United States Army, alleges that she was sexually

assaulted by a fellow soldier while deployed in Saudi Arabia for Operation Desert Storm in

1990. See ECF No. 1 (Compl.), ¶¶ 28–29, 33, 37. A subsequent verbal altercation between Doe

and the attacker resulted in her facing court-martial. Id., ¶¶ 42–47. She accepted a discharge

from the Army in lieu of proceeding with that proceeding; those discharge papers indicate that

she left the service “Under Other than Honorable Conditions.” Id., ¶¶ 47–49. Decades later, she

was awarded service-related disability benefits by the “Board of Veterans’ A[ppeal]s” based on

her diagnosis with Post Traumatic Stress Disorder and its connection to the 1990 sexual assault.

Id., ¶¶ 60–63. She now seeks review of a 2022 decision by the Army Board for Correction of

Military Records denying her application to modify her discharge characterization to

“Honorable.” Id., ¶ 2. She has thus sued the Board, Secretary of Defense Lloyd J. Austin, III,

and Secretary of the Army Christine Wormuth, id., ¶¶ 13–15, asserting a violation of the

Administrative Procedure Act. Id., ¶¶ 113–39.

       Because this suit involves sensitive facts and revealing her identity would cause her and

her children psychological harm, Plaintiff filed a Motion to Proceed Under Pseudonym. See


                                                1
          Case 1:24-cv-02143-UNA Document 7 Filed 07/29/24 Page 2 of 6




ECF No. 2 (Mot.). The Court will grant the Motion, subject to any further consideration by the

United States District Judge to whom this case is randomly assigned. See LCvR 40.7(f)

(providing that Chief Judge shall “hear and determine . . . motion[s] to file a pseudonymous

complaint”); id. 5.1(h)(1) (“Absent statutory authority, no case or document may be sealed

without an order from the Court.”).

I.     Legal Standard

       Generally, a complaint must identify the plaintiffs. See Fed. R. Civ. P. 10(a); LCvR

5.1(c)(1). This identification requirement reflects the “presumption in favor of disclosure [of

litigants’ identities], which stems from the ‘general public interest in the openness of

governmental processes,’ and, more specifically, from the tradition of open judicial

proceedings.” In re Sealed Case, 931 F.3d 92, 96 (D.C. Cir. 2019) (quoting Wash. Legal Found.

v. U.S. Sent’g Comm’n, 89 F.3d 897, 899 (D.C. Cir. 1996)). A party moving to proceed

pseudonymously thus “bears the weighty burden of both demonstrating a concrete need for such

secrecy[] and identifying the consequences that would likely befall it if forced to proceed in its

own name.” In re Sealed Case, 971 F.3d 324, 326 (D.C. Cir. 2020). As a result, the court must

“‘balance the litigant’s legitimate interest in anonymity against countervailing interests in full

disclosure’” by applying a “flexible and fact driven” balancing test. Id. (quoting In re Sealed

Case, 931 F.3d at 96). That test assesses “five non-exhaustive factors”:

       [1] whether the justification asserted by the requesting party is merely to avoid the
       annoyance and criticism that may attend any litigation or is to preserve privacy in a
       matter of [a] sensitive and highly personal nature;

       [2] whether identification poses a risk of retaliatory physical or mental harm to the
       requesting party or[,] even more critically, to innocent non-parties;

       [3] the ages of the persons whose privacy interests are sought to be protected;

       [4] whether the action is against a governmental or private party; and, relatedly,



                                                  2
          Case 1:24-cv-02143-UNA Document 7 Filed 07/29/24 Page 3 of 6




       [5] the risk of unfairness to the opposing party from allowing an action against it to
       proceed anonymously.

Id. at 326–27 (quoting In re Sealed Case, 931 F.3d at 97) (first alteration in original).

II.    Analysis

       At this early stage, Plaintiff has met her burden to show that her privacy interests

outweigh the public’s presumptive and substantial interest in learning her identity.

       First, as the Complaint makes clear, Doe does not seek to proceed under a pseudonym

“merely to avoid the annoyance and criticism that may attend any litigation,” but to “preserve

privacy in a matter of [a] sensitive and highly personal nature.” Id. at 326 (quoting In re Sealed

Case, 931 F.3d at 97) (alteration in original). “Courts generally allow a plaintiff to litigate under

a pseudonym in cases containing allegations of sexual assault because they concern highly

sensitive and personal subjects.” Doe v. Cabrera, 307 F.R.D. 1, 5 (D.D.C. 2014); see also Doe v.

De Amigos, LLC, 2012 WL 13047579, at *2 (D.D.C. Apr. 30, 2012) (“Courts have granted

anonymity to protect against disclosure of a wide range of issues involving matters of the utmost

intimacy, including sexual assault.”) (citation omitted).

       This suit is no exception. The Complaint reveals “intimate or sensitive personal

information” of the kind “traditionally recognized under this factor, such as ‘sexual

activities . . . [and] bodily autonomy.’” Doe v. Rogers, 2023 WL 1470007, at *2 (D.D.C. Feb. 2,

2023) (quoting Doe v. Bogan, 542 F. Supp. 3d 19, 23 (D.D.C. 2021)). In particular, Doe

describes the circumstances of her sexual assault, the struggle involved in continuing to work

with her attacker after the fact, and her diagnoses resulting from the experience. See, e.g.,

Compl., ¶¶ 37–40, 47, 56–57. An exhibit to her Complaint, moreover, includes graphic details

of the assault. See ECF No. 1-1 (Army Bd. Record of Proceedings) at 1 (stating that assailant

“threatened to kill [Doe] while he held a knife to her throat”).



                                                  3
          Case 1:24-cv-02143-UNA Document 7 Filed 07/29/24 Page 4 of 6




       The second factor, which concerns the “risk of retaliatory physical or mental harm” to

Plaintiff and to “innocent non-parties,” also counsels granting the Motion. See In re Sealed

Case, 971 F.3d at 326 (internal quotation marks and citation omitted). Public disclosure, Doe

asserts, is “likely to result in additional psychological trauma” to both her and her children. See

Mot. at 6–8. She fears that revealing her identity “may undermine any ‘[psychological] progress

[she] has made’ since her attack.” Id. at 6 (quoting Cabrera, 307 F.R.D. at 6); see also De

Amigos, LLC, 2012 WL 13047579, at *2 (“[P]ublicity could exacerbate the psychological harm

that [plaintiff] has already experienced . . . .”). She further points out that “[a]mong veterans

who have experienced sexual assault in the military, PTSD and secondary victimization are

strongly correlated,” which “makes her especially vulnerable to any negative psychologically

damaging remarks by the public.” Mot. at 7.

       To be sure, Plaintiff does not attach an affidavit supporting these claims, cf. Sponsor v.

Mayorkas, 2023 WL 2598685, at *2 (D.D.C. Mar. 22, 2023) (referencing affidavits in support of

motion), and “[d]iscovery may well render [her] concerns unsupported and unwarranted.”

Doe v. Fed. Republic of Germany, 680 F. Supp. 3d 1, 5 (D.D.C. 2023). At this early stage,

however, the Court finds that the allegations in the Complaint are sufficient to establish that

revealing Doe’s name publicly in connection with this litigation poses a risk of harm. See

Compl., ¶¶ 56–62, 100; Mot. at 5-6. This factor therefore supports letting Plaintiff proceed

under a pseudonym.

       The third factor cuts the other way, as Plaintiff does not claim that her case implicates the

privacy interests of any minors, see Mot. at 8 (not claiming any affected children are minors), but

the fourth and fifth seal the deal for pseudonymity. With respect to the fourth, Plaintiff has sued

only governmental actors, and “anonymous litigation is more acceptable when the defendant is a




                                                  4
          Case 1:24-cv-02143-UNA Document 7 Filed 07/29/24 Page 5 of 6




governmental body because government defendants ‘do not share the concerns about

“reputation” that private individuals have when they are publicly charged with wrongdoing.’”

J.W. v. Dist. of Columbia, 318 F.R.D. 196, 201 (D.D.C. 2016) (quoting Cabrera, 307 F.R.D. at

8); see also Doe 1 v. George Washington Univ., 369 F. Supp. 3d 49, 67 (D.D.C. 2019)

(distinguishing “private litigants, who presumably have concerns about their respective

reputations”). Although Doe alleges serious wrongdoing on the part of those governmental

actors and “the public has a strong interest in monitoring . . . the positions that its elected

officials and government agencies take in litigation,” Hyatt v. Lee, 251 F. Supp. 3d 181, 184

(D.D.C. 2017) (citation omitted), the public will be able to vindicate that interest here regardless

of whether Doe uses a pseudonym because she has filed her lawsuit on the public docket, not

under seal. The fourth factor, accordingly, supports her Motion. As for the fifth, Defendants

would suffer no “risk of unfairness” if the Motion were granted because they already know her

identity. See Mot. at 8–9; In re Sealed Case, 971 F.3d at 326 n.1 (this factor is “not implicated”

where defendant knows plaintiff’s identity).

        On balance, although the third factor disfavors Plaintiff, all the others tip the scale toward

permitting her to proceed under a pseudonym for now.

        The Court accordingly ORDERS that:

        1. Plaintiff’s [2] Motion to Proceed Under Pseudonym is GRANTED, subject to any

            further consideration by the United States District Judge to whom this case is

            randomly assigned;

        2. All parties shall use the pseudonym listed in the Complaint in all documents filed in

            this action; and

        3. Within fourteen days of this Order, Plaintiff shall file on the public docket:




                                                   5
         Case 1:24-cv-02143-UNA Document 7 Filed 07/29/24 Page 6 of 6




                  i. A pseudonymous version of her [2] Motion and any attachments; and

                 ii. A sealed declaration containing her real name and residential address.

                                                          /s/ James E. Boasberg
                                                          JAMES E. BOASBERG
                                                          Chief Judge
Date: July 29, 2024




                                              6
